      Case 3:18-cv-02621-WHO Document 269 Filed 05/28/20 Page 1 of 4



 1   PAUL J. ANDRE (State Bar No. 196585)              CLEMENT ROBERTS (State Bar No. 209203)
     pandre@kramerlevin.com                            croberts@orrick.com
 2   LISA KOBIALKA (State Bar No. 191404)              ORRICK, HERRINGTON & SUTCLIFFE LLP
     lkobialka@kramerlevin.com                         405 Howard Street
 3   JAMES HANNAH (State Bar No. 237978)               San Francisco, CA 94105
     jhannah@kramerlevin.com                           Telephone: (415) 773-5700
 4   KRISTOPHER B. KASTENS (State Bar No.               Facsimile: (415) 773-5759
     254797)
 5   kkastens@kramerlevin.com                          VICKIE FEEMAN (State Bar No. 177487)
     KRAMER LEVIN NAFTALIS & FRANKEL                   vfeeman@orrick.com
 6   LLP                                               EVAN BREWER (State Bar No. 304411)
     990 Marsh Road                                    ebrewer@orrick.com
 7   Menlo Park, CA 94025                              ORRICK, HERRINGTON & SUTCLIFFE LLP
     Telephone: (650) 752-1700                         1000 Marsh Road
 8   Facsimile: (650) 752-1800                         Menlo Park, CA 94025-1015
                                                       Telephone: (650) 614 7400
 9   Attorneys for Plaintiff                           Facsimile: (650) 614 7401
     FINJAN, INC.
10                                                     ALYSSA CARIDIS (State Bar No. 260103)
                                                       acaridis@orrick.com
11                                                     MARGARET ABERNATHY (State Bar No.
                                                       300273)
12                                                     mabernathy@orrick.com
                                                       ORRICK, HERRINGTON & SUTCLIFFE LLP
13                                                     777 South Figueroa Street, Suite 3200
                                                       Los Angeles, CA 90017
14                                                     Telephone: (213) 629-2020
                                                       Facsimile: (213) 612-2499
15
                                                       Attorneys for Defendants
16                                                     CHECK POINT SOFTWARE
                                                       TECHNOLOGIES, INC. and CHECK POINT
17                                                     SOFTWARE TECHNOLOGIES, LTD.

18
                                      UNITED STATES DISTRICT COURT
19
                                   NORTHERN DISTRICT OF CALIFORNIA
20
                                            SAN FRANCISCO DIVISION
21
     FINJAN, INC., a Delaware Corporation,               Case No. 3:18-cv-02621-WHO (JCS)
22
                               Plaintiff,                STIPULATION FOR DISMISSAL
23                                                       WITH PREJUDICE
            v.
24
     CHECK POINT SOFTWARE
25   TECHNOLOGIES, INC., a Delaware
     Corporation and CHECK POINT SOFTWARE
26   TECHNOLOGIES, LTD., an Israeli Limited
     Company,
27
                               Defendants.
28


     STIPULATION FOR DISMISSAL WITH PREJUDICE                        CASE NO.: 18-cv-02621-WHO
        Case 3:18-cv-02621-WHO Document 269 Filed 05/28/20 Page 2 of 4



 1           Plaintiff Finjan, Inc. (“Finjan”) and Defendants Check Point Software Technologies, Inc.
 2    and Check Point Technologies, Ltd. (collectively, “Check Point”) (together, the “Parties”), having
 3    resolved their disputes and pursuant to Fed. R. Civ. P. 41, hereby jointly move for an order
 4    dismissing all claims, counterclaims, and defenses in this action WITH PREJUDICE, with each
 5    Party to bear its own costs, expenses and attorneys’ fees. The Parties further agree that neither
 6    party, nor any agent or attorney, will make any announcement or statement to the media, or engage
 7    in any publicity regarding this dismissal, other than to state that the Parties entered into a stipulated
 8    dismissal with prejudice.
 9

10    IT IS SO STIPULATED.
11

12                                                        Respectfully submitted,

13      Dated: May 28, 2020                          By: /s/ Kristopher Kastens
                                                         Paul J. Andre (SBN 196585)
14                                                       Lisa Kobialka (SBN 191404)
                                                         James Hannah (SBN 237978)
15                                                       Kristopher Kastens (SBN 254797)
                                                         KRAMER LEVIN NAFTALIS
16                                                       & FRANKEL LLP
                                                         990 Marsh Road
17                                                       Menlo Park, CA 94025
                                                         Telephone: (650) 752-1700
18                                                       Facsimile: (650) 752-1800
                                                         pandre@kramerlevin.com
19                                                       lkobialka@kramerlevin.com
                                                         jhannah@kramerlevin.com
20                                                       kkastens@kramerlevin.com

21                                                        Attorneys for Plaintiff
                                                          FINJAN, INC.
22
                                                          Respectfully submitted,
23
        Dated: May 28, 2020                          By: /s/ Clement Roberts
24                                                       Vickie Feeman (SBN 177487)
                                                         Evan Brewer (SBN 304411)
25                                                       ORRICK, HERRINGTON
                                                         & SUTCLIFFE LLP
26                                                       1000 Marsh Road
                                                         Menlo Park, CA 94025
27                                                       vfeeman@orrick.com
                                                         fcheever@orrick.com
28                                                       ebrewer@orrick.com


                                        1
     STIPULATION FOR DISMISSAL WITH PREJUDICE                              CASE NO.: 18-cv-02621-WHO
       Case 3:18-cv-02621-WHO Document 269 Filed 05/28/20 Page 3 of 4



 1                                                       Clement Roberts
                                                         ORRICK, HERRINGTON
 2                                                       & SUTCLIFFE LLP
                                                         405 Howard Street
 3                                                       San Francisco, CA 94105
                                                         croberts@orrick.com
 4
                                                         Alyssa Caridis
 5                                                       Margaret Anne Abernathy
                                                         ORRICK, HERRINGTON
 6                                                       & SUTCLIFFE LLP
                                                         777 South Figueroa Street, Suite 3200
 7                                                       Los Angeles, CA 90017
                                                         acaridis@orrick.com
 8                                                       mabernathy@orrick.com
 9                                                       Attorneys for Defendants
                                                         CHECK POINT SOFTWARE
10                                                       TECHNOLOGIES, INC. and CHECK POINT
                                                         SOFTWARE TECHNOLOGIES, LTD.
11

12

13
                                              ATTESTATION
14
            I, Kristopher Kastens, am the ECF user whose identification and password are being
15
     used in this filing. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that all other
16
     signatories to this document have concurred in the filing of this document.
17

18
                                                                   /s/ Kristopher Kastens
19
                                                                     Kristopher Kastens
20

21

22

23

24

25

26
27

28

                                        2
     STIPULATION FOR DISMISSAL WITH PREJUDICE                             CASE NO.: 18-cv-02621-WHO
       Case 3:18-cv-02621-WHO Document 269 Filed 05/28/20 Page 4 of 4



 1         It is hereby ORDERED that all claims, counterclaims, and defenses in this action are
 2 dismissed WITH PREJUDICE, with each Party to bear its own costs, expenses and

 3 attorneys’ fees.

 4

 5 Dated: May 28, 2020

 6                                               The Honorable William H. Orrick
                                                 United Stated District Judge
 7

 8
 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26
27

28

                                        3
     STIPULATION FOR DISMISSAL WITH PREJUDICE                     CASE NO.: 18-cv-02621-WHO
